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FoR THE wEs*rERN DISTRICT oF TENNESSEE 05 SEP -| PH 5~. 03

IN THE UNITED STATES DISTRICT COURT

WESTERN DIVISION
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MICHAEL LUSTER:
Plaintiff,

v. No. 03-2244 Ma/An
MEMPHIS LANDINGS APARTMENTS,
LP.r and EQUITY RESIDENTIAL
PROPERTIES MANAGEMENT
CORPORATION;

vV`-I\_¢\_fv~_¢~_¢\_d~./\_¢v

Defendants.

 

ORDER DENYING DEFENDANTS' MOTION FOR JUDGMENT AS A MATTER OF LAW,
OR, IN THE ALTERNATIVE, FOR A NEW TRIAL

 

This case arises from the injury Michael Luster (“Luster”)
sustained after diving into the swimming pool at The Landings
Apartments complex in Memphis, Tennessee. Luster brings a claim for
negligence against defendants ML Tennessee Apartments, LP, and
Equity Residential Properties Management Corporation (collectively
the “Defendants”).l Beginning on May 23, 2005, the court held a
jury trial on Luster’s negligence claim. The jury was charged on
May 31, 2005, and returned a verdict on June 1, 2005, finding that
Luster had sustained damages of $2,500,000.00, and that the
Defendants were 55% at fault for Luster's injuries. Before the

court is the Defendants’ “Motion for Judgment as a Matter of Law,

 

1The Complaint also states a claim for negligence per §§ which was not
pursued at trial.

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or, in the Alternative, for a New Trial,” filed on June 17, 2005.
Luster filed. a response on June 27, 2005. For the following
reasons, the court DENIES the Defendants' motion.
I. Jurisdiction

Luster is a resident of Tennessee. (Am. Compl. at j l.)
Defendant ML Tennessee Apartments, LP, is a foreign limited
partnership. (Id. at j 4.) There is no evidence that any partner of
ML Tennessee Apartments, LP, is a citizen of Tennessee, Equity
Residential Properties Management Corporation is a foreign
corporation with its principal place of business in Chicago,
Illinois. (Id. at j 6.)2 Luster seeks over $30 million in damages.
(Id., Relief at 1 3.) This court, therefore, has jurisdiction under
28 U.S.C. § 1332. The case arises from an injury Luster suffered at
the Landings Apartments complex in Memphis, Tennessee. (Id. at II
16, 19, 24.) Because the accident occurred in the Western District
of Tennessee, venue is proper under 28 U.S.C. § 1391(a)(2).
II. Background

The following evidence was adduced at trial. On the evening of
April 28, 2002, Luster and his friends Monkell Bowen and Courtney
Bowen were at the swimming pool of the Landings Apartments complex.
The Landings Apartments were owned by ML Tennessee Apartments, LP,

and managed by Equity Residential Property Management Corporation.

 

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The Amended Complaint names 10 defendants. All defendants except Equity
Residential Properties Management Corporation and ML Tennessee Apartments, LP,
were dismissed in an order entered on September 10, 2003.

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Luster dove into the swimming pool and struck his head on the
pool‘s bottom. Luster in now a quadriplegic.

The swimming pool is less than 4 feet deep and is surrounded
by a fence. The fence gate was unlocked that night. The swimming
pool has a north end and a south end. Luster sustained his injury
in the south end of the pool. Shortly before diving into the south
end, Luster had swum several laps across the north end.

Testimony that Luster gave during his deposition suggested
that it was light outside when his accident occurred. At trial,
Luster, Monkell Bowen and Courtney Bowen testified that it was dark
when they were at the swimming pool. Luster's expert witness Thomas
Ebro testified that at nighttime the artificial lighting around the
swimming pool illuminates the pool deck with 0.1 foot-candles of
light. Several witnesses testified that the swimming pool contains
two underwater lights, at least one of which was not operating when
the accident occurred.

The swimming pool had “no diving” and “pool regulations”
signs. Luster did not read either sign. There were depth markings
on the swimming pool deck and the walls of the pool indicating the
depth of the water along the swimming pool's perimeter. Luster did
not see the depth markings. Luster testified that the lighting was
inadequate for him to see the warning signs or the depth markings.

Ebro testified that when a swimming pool is inadequately lit

at night the chance that a serious accident will occur increases.

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Ebro stated that, had the pool been better illuminated, the bottom,
the depth markers and the warning signs would have been visible. In
Ebro's opinion, the absence of adequate lighting made the swimming
pool unsafe and, under these conditions, standard safety practices
in the swimming pool industry would have been to close the swimming
pool at night and lock the gate. Ebro also testified that,
irrespective of the lighting conditions, the warning signs at the
swimming pool were inadequate.

Luster testified that he had drunk two 16-oz. bottles of beer
on the day of the accident and that he was not intoxicated or
impaired by alcohol when the accident occurred. Monkell Bowen and
Courtney Bowen testified that Luster did not appear intoxicated.
The paramedics who arrived shortly after Luster's accident
indicated on their incident report that Luster smelled strongly of
alcohol. A blood analysis performed on April 28, 2002, at 10:ll
p.m. showed that Luster's blood alcohol content (“BAC”) was 0.20
gms/dl. The Defendants’ expert Dr. David Stafford testified that a
conscious individual with that BAC level would “exhibit some or all
of the following symptoms: prolonged reaction time; impaired
judgment in that the ability to make good and timely decisions is
decreased, and the ability to judge things such as time, speed and
orientation is diminished; impaired visual acuity; impaired
auditory function; impaired fine and gross motor skills and

adversely affected equilibrium, balance and gate [sic].”

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III. Choice of Law

A federal district court is required to apply the “choice of
law” rules of the state in which it sits. Klaxon Co. v. Stentor
Elec. Mfg. Co., 313 U.S. 487, 496 (1941); Cole v. Mileti, 133 F.3d
433, 437 (6th Cir. 1998). “Otherwise the accident of diversity of
citizenship would constantly disturb equal administration of
justice in coordinate state and federal courts sitting side by
side.” Klaxon, 313 U.S. at 496. Therefore, this court must apply
the Tennessee rule to determine which jurisdiction's law to apply.

For tort claims, Tennessee follows the “most significant
relationship” rule, which provides that “the law of the state where
the injury occurred will be applied unless some other state has a
more significant relationship to the litigation.” Hataway v.
McKinley, 830 S.W.Zd 53, 59 (Tenn. 1992). The injury Occurred in
Tennessee, and both parties assume that Tennessee law applies. No
party alleges that another state has a more significant
relationship. The court will, therefore, apply Tennessee law.

IV. Standards

A. Renewed Judgment as a Matter of Law

Judgment as a matter of law is appropriate where “there is no
legally sufficient evidentiary basis for a reasonable jury to find
for that party on that issue.” Fed. R. Civ. P. 50(a)(l). A motion
for judgment as a matter of law may be renewed “no later than 10

days after entry Of judgment.”3 Fed. R. Civ. P. 50(b). The question

 

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The renewed motion for judgment as a matter of law was formerly referred

to as judgment notwithstanding the verdict (“JNOV”).

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is whether there is sufficient evidence to raise a question of fact
for the jury. Hicks v. Frey, 992 F.2d 1450, 1456 (6th Cir. 1993).
In deciding this issue, the court must view the evidence in the
light most favorable to the nonmoving party, drawing all reasonable
inferences in his favor. §e§ ig; “[T]he trial court may neither
weigh the evidence, pass on the credibility of witnesses nor
substitute its judgment for that of the jury.” Ratliff v.
Wellington Exempted Village Schs. Bd. of Ed., 820 F.2d 792, 795
(6th Cir. 1987).

B. New Trial

Federal Rule of Civil Procedure 59(a)(1) provides for a new
trial “in an action in which there has been a trial by jury, for
any reasons for which new trials have heretofore been granted in
actions at law in the courts of the United States.” “Generally
Courts have interpreted this language to mean that a new trial is
warranted when a jury has reached a ‘seriously erroneous result' as
evidenced by: (1) the verdict being against the weight of the
evidence; (2) the damages being excessive; or (3) the trial being
unfair to the moving party in some fashion m.” Holmes v. City of
Massillonc Ohio, 78 F.3d 1041, 1045-46 (6th Cir. 1996). When the
moving party contends that the jury's verdict was against the
weight of the evidence, the trial court should:

compare the opposing proofs, weigh the evidence, and set

aside the 'verdict if it is of the opinion. that the

verdict is against the clear weight of the evidence. It

should deny the motion if the verdict is one which could

reasonably have been reached, and the verdict should not

be considered unreasonable simply because different
inferences and conclusions could have been drawn or

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because other results are more reasonable.

Tobin v. Astra Pharm. Prods. Inc., 993 F.2d 528, 541-42 (6th Cir.

 

1993). “A court may not substitute its judgment for that of the
jury....” Holloway v. Wal-Mart Storesl Inc., 909 F. Supp. 534, 536

(E.D. Tenn. 1995). The court must accept any reasonable verdict.
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V. Analysis

In Tennessee, a plaintiff may recover in a negligence action

“so long as a plaintiff’s negligence [is] less than the defendant's

negligence....” McIntyre v. Balentine, 833 S.W.2d 52, 57 (Tenn.
1992). “[T]he fault apportionment question is ultimately dependent
upon all the circumstances of the case; and juries will ... rely

upon their common sense and ordinary experience in apportioning
fault.” Eaton v. McLain, 891 S.W.2d 587, 593 (Tenn. 1994). “In
negligence cases, issues of proximate cause, intervening cause and
contributory negligence are peculiarly issues for the trier of
fact, not the court to determine. Such issues can only be decided
by the court in cases where inferences from uncontroverted facts
are so certain that all reasonable men, in the exercise of a free
and impartial judgment, must agree upon them.” Brookins v. The

Round Tablel Inc., 624 S.W.2d 547, 550 (Tenn. 1981); see also

 

Eaton, 891 S.W.2d at 590; Doe v. Linder Const. Co. Inc., 845

 

S.W.Zd 173, 187 (Tenn. 1992); Haga v. Blanc & West Lumber Co.l
InC., 666 S.W.2d 61, 65 (Tenn. 1984); Frady V. Smith_. 519 S.W.Zd

584, 586 (Tenn. 1974).

The Defendants argue that judgment as a nwtter of law is

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appropriate because there was insufficient evidence from which the
jury could conclude that the Defendants were 55% at fault for
Luster's injuries. (Defs.' Mem. in Supp. at 9.) The Defendants
state that “uncontroverted proof” was presented at trial showing
that Luster was intoxicated at the time of his injury and that his
intoxication caused him to exercise poor judgment and dive into a
pool of unknown depth. The Defendants also argue that, irrespective
of Luster's level of intoxication, he was negligent in diving into
a dark pool at night when he did not know the depth of the pool,
could not see any warning signs, and could not see the pool bottom.

Luster argues that he presented sufficient evidence fron1which
the jury could conclude that the Defendants were 55% at fault for
his injuries. (Pl.'s Resp. at 2.) Luster has the better argument.
Although evidence was presented at trial that showed Luster was
negligent, there was also evidence that the defendants were
negligent: the trial included evidence that it was dark at the time
of the accident, the lighting at the pool was inadequate, the signs
warning that the pool was shallow were inadequate, and that under
the Circumstances it would have been appropriate to close the pool
after dark.

Further, there was evidence at trial that Contradicts the crux
of the Defendants argument: that Luster's intoxication caused his
injuries. Luster testified that his judgment was not impaired by
alcohol. Monkell Bowen and Courtney Bowen testified that Luster did
not appear intoxicated. It is not the court's role to determine

whether the evidence presented by the Defendants that Luster was

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intoxicated, or the evidence presented by Luster that he was not
intoxicated, deserves more Credence. §§§ Ba§li;f, 820 F.2d at 795
(“[T}he trial court may neither weigh the evidence, pass on the
credibility of witnesses nor substitute its judgment for that of
the jury.”)

The court cannot say that there was no “legally sufficient
evidentiary basis” for the jury to find that the Defendants were
55% at fault for Luster's injuries. That is particularly true given
that the Tennessee Supreme Court has made clear that the
apportionment of fault is “peculiarly” a question for the jury.
Brookins, 624 S.W.Zd at 550. Because there was sufficient evidence
presented at trial to raise a question of fact for the jury, the
Defendants renewed motion for judgment as a nstter of law is
denied.

The Defendants' argument in favor of their motion for a new
trial mirrors their argument for judgment as a matter of law. A
court may grant a motion for a new trial only if the verdict was
not one that could reasonably have been reached based on the
evidence presented. Igbig, 993 F.2d at 541-42. Evidence was
presented at trial that both parties were at fault.

The court cannot say that the jury, after deliberating for a
day, weighed the evidence of each party's negligence in an
“unreasonable” manner. Although there was strong evidence that
Luster was intoxicated, there was also strong evidence that the
pool was lit in an unreasonably dangerous manner and that warning

signs were inadequate. The jury’s verdict finding that the

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Defendants' negligence was slightly more to blame for the accident
than the Plaintiff's negligence was reasonable, and the court must
accept it. §gg Holloway, 909 F.Supp. at 536. Because this motion
addresses the determination of comparative fault, it would be
particularly inappropriate for the court to substitute its own

judgment for that of the jury. See id.; Brookins, 624 S.W.2d at

 

550. Therefore, the Defendants' motion for a new trial is denied.
VII. Conclusion

For the foregoing reasons, the Defendants’ “Motion for
Judgment as a Matter of Law, or, in the Alternative, for a New

Trial” is DENIED.

so oRDERE:D this '51' day of september 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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